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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF ILLINOIS

 SHEILA KELLY, individually
 an on behalf of all others similarly
 situated,

 Plaintiff,

 v.

 WHITEHAVEN SETTLEMENT
 FUNDING, LLC, a/k/a Whitehaven
 S.F., LLC.,1

 Defendant.                                                          No. 09-0541-DRH

                                MEMORANDUM and ORDER

 HERNDON, Chief Judge:

                             I. Introduction and Background

                Now before the Court is Whitehaven Sherwood Forrest, LLC’s motion

 to transfer (Doc. 17).2 Whitehaven Sherrwood Forrest, LLC (“Whitehaven”) argues

 that the case should be transferred to the District Court for the Southern District of

 New York as the contract entered between the parties provides that New York law



        1
        According to the pleadings, Kelly incorrectly named Defendant as Whitehaven Settlement
 Funding, Inc. Defendant’s correct name is Whitehaven Sherwood Forrest, LLC.
        2
          On December 7, 2009, pursuant to Local Rule 7.1(g), the Court granted this motion to
 transfer as Kelly did not respond timely to the motion (Doc. 19). Also in the Order, the Court
 denied Plaintiff’s motion to remand. That same day, Kelly filed a motion to vacate transfer order,
 or, in the alternative, to stay transfer order asserting that the response was not filed due to a
 mistake with her counsel’s office support staff and that it is likely that Kelly will immediately
 appeal the denial of the remand motion. The next day, the Court stayed the transfer Order and
 allowed Kelly leave to file her response (Doc. 21). On January 11, 2010, the Seventh Circuit Court
 of Appeals denied Kelly leave to appeal the Order denying the remand motion (Doc. 24).

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 governs and that the contract also contains an arbitration clause that requires the

 parties to arbitrate in New York. Thus, the under the mandate of the Federal

 Arbitration Act and the contract, only the Southern District of New York has the

 authority to compel arbitration. Obviously, Kelly opposes the motion (Doc. 22).

 After reviewing the pleadings and the applicable law, the Court finds that this action

 does not belong in the Southern District of Illinois and lifts the stay on the December

 7, 2009 Order transferring this matter to the Southern District of New York.

                On June 12, 2009, Plaintiff Sheila Kelly, individually and on behalf of

 all others similarly situated, filed a three count complaint against Whitehaven in the

 Madison County, Illinois Circuit Court (Doc. 2-2).3 According to the complaint,

 Kelly’s cause of action arises out of a contract she entered into with Whitehaven for

 the “loan” of $25,000. Kelly alleges that the contract is illegal and void and that

 Whitehaven through fraud engaged in illegal and “Champertous” behavior in violation

 of the Illinois Consumer Fraud Act, 815 ILCS 505/1 et. seq.                         Kelly seeks a

 declaration, an injunction, actual and treble damages in an amount in excess of

 $50,000.00 and reasonable attorney fees and costs. Thereafter, on July 20, 2009,

 Whitehaven removed the case to this Court based on diversity jurisdiction, 28 U.S.C.

 § 1332 (Doc. 2). Prior to the removal in this case, Whitehaven filed a petition to

 compel arbitration in the Southern District of New York against Kelly pursuant to the

 arbitration agreement contained in the contract.                 See Whitehaven Sherwood


        3
         As of this date, Kelly has not moved for class certification. Thus, the case is not
 proceeding as a class action at this time.

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 Forest, LLC v. Kelly, 09-06203-LTS (S.D.N.Y. July 10, 2009).

               The contract entered between the parties on June 7, 2008 provides in

 part:

         Plaintiff has the right to prosecute a lawsuit(s), claim(s) and/or case(s)
         arising out of a incident/accident/transaction resulting from medical
         malpractice by Gitersonky Foot Clinic and Alan Gitersonky, D.P.M.; and
         for which Plaintiff has retained The Lakin Law Firm, 301 Evans Avenue,
         Wood River, Il 62095, to prosecute same;
          ...
         5. (a) In consideration for Whitehaven S.F. LLC agreeing to advance
         funds in the sum of $25,000.00, prior to settlement or judgment(s)
         of Plaintiff’s lawsuit, claim(s) or case(s) arising from the
         accident/incident/transaction as outlined above, Plaintiff agrees to pay
         and instructs his/her counsel to pay Whitehaven S.F. LLC the sum of
         $25,000.00 together with an application fee of $500.00 and an
         origination fee of $2,500.00 plus 4.99% percent interest,
         compounded monthly from the date of funding to the date of
         payment, at the conclusion of the lawsuit(s), claim(s) or case(s),
         whether by settlement, judgment or otherwise from the proceeds of
         recovery of said lawsuit(s), claim(s) or case(s), if any.
                (b) Notwithstanding the foregoing, there shall be a
                minimum payment due and owing to Whitehaven S.F.
                LLC of $42,500.00

 As to the applicable law and arbitration forum selection clauses, the contract

 contains the following:

         26. Plaintiff acknowledges and agrees that the laws of the State of New
         York shall control interpretation of this agreement and all terms
         conditions, relationships and duties of the parties.

         27. Any controversy or claim arising out of or relation to this contract,
         including without limitation, the interpretation, validity, enforceability
         or breach thereof, shall be settled by final, binding arbitration
         administered by the American Arbitration Association (hereinafter
         referred to as “AAA”) in accordance with Commercial Arbitration Rules,
         and judgment on the award rendered by the arbitrator may be entered
         in any court having jurisdiction thereof. The arbitrator shall be a


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       practicing attorney or retired judge licensed to practice in the State of
       New York. The parties also agree that the AAA Optimal Rules for
       Emergency Measures of protection shall apply to the proceedings. The
       arbitrator shall award to the prevailing party, if any, as determined by
       the arbitrator, all of its costs and fees. “Costs and fees” mean all pre-
       award expenses of the arbitration, including the arbitrator’s fees,
       administrative fees, travel expenses, out-of-pocket expenses such as
       copying and telephone, court costs, witness fees, and attorney’s fees.
       The award shall be in writing, shall be signed by the arbitrator, and
       shall include a statement regarding the reasons for the disposition of
       any claim. Arbitration pursuant to this paragraph shall be filed and
       held in the New York Regional Office located in the county, city and
       State of New York.


 The contract contains Kelly’s signature, a signature of someone from The Lakin Law

 Firm and references Charles Armbruster, Esq., and The Lakin Law Firm throughout

 the contract.

                                      II. Analysis

                 The Federal Arbitration Act (“FAA”), governs arbitration agreements

 involving interstate commerce. See 9 U.S.C. § § 1-2. It provides that a “written

 provision in any contract to settle by arbitration” any future controversy arising out

 of such contract.”     9 U.S.C. § 2.    Congress designed the FAA “to reverse the

 longstanding judicial hostility to arbitration agreements ... and to place [them] on the

 same footing as other contracts.” Gilmer v. Interstate/Johnson Lane Corp., 500

 U.S. 20, 24 (1991). Any doubt with respect to arbitrability therefore should be

 resolve in favor of arbitration.” James v. McDonald’s Corp., 417 F.3d 672, 677

 (7th Cir. 2005) (citing Moses H Cone Mem’l Hospital v. Mercury Constr. Corp.,

 460 U.S. 1, 24-25 (1983)).


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              Further, Section 4 of the FAA states in relevant part:

       A party aggrieved by the alleged failure, neglect or refusal of another to
       arbitrate under a written agreement for arbitration may petition the
       United States district court which, save for such agreement, would have
       jurisdiction under Title 28.... The hearing and the proceedings, under
       such agreement, shall be within the district in which the petition for an
       order directing such arbitration is filed.


 9 U.S.C. § 4.     The venue directive of Section 4 is mandatory and has been

 interpreted to require “a geographic link between the site of the arbitration and the

 district which, by compelling arbitration or directing its scope, exercises preliminary

 control.” Merrill Lynch, Pierce, Fenner & Smith, Inc. v. Lauer, 49 F.3d 323,

 327 (7th Cir. 1995); Haber v. Biomet, Inc., 578 F.3d 553, 558 (7th Cir. 2009).

 Section 4 applies to procedures to both compel and those to enjoin arbitration. In

 addition, issues such as deciding whether an arbitration provision applies to a

 certain party or whether it applies to a dispute at all fall under the umbrella of an

 arbitration provision’s scope, validity, and enforceability.

              Specifically,   Kelly   maintains      that   the     arbitration   clause   is

 unconscionable both procedurally and substantively.              The Court rejects Kelly’s

 arguments.

              “Procedural unconscionability refers to a situation where a term is so

 difficult to find, read, or understand that the plaintiff cannot fairly be said to have

 been aware he was agreeing to it, and also takes into account a lack of bargaining

 power.” Razor v. Hyundai Motor Am., 854 N.E.2d 607, 622 (Ill. 2006)( citing



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 Frank's Maint. & Eng'g v. C.A. Roberts Co., 408 N.E.2d 403 (Ill.App. 1st

 Dist.1980)); Kinkel v. Cingular Wireless, 857 N.E.2d 250, 264 (Ill. 2006). The

 factors to be considered include the manner in which the contract was entered into,

 whether each party had a reasonable opportunity to understand the terms of the

 contract, and whether important terms were hidden in a maze of fine print. Frank's

 Maint., 408 N.E.2d at 410. The totality of the circumstances should be considered

 to determine whether a contract provision is procedurally unconscionable. Id.;

 Kinkel, 857 N.E.2d at 264.

              The contract is written in Times New Roman font and it is easy to read.

 The arbitration clause is not hidden in fine print (as there is not fine print in the

 contract) and is clearly displayed. The Lien and Attorney Acknowledgment to the

 contract is signed by someone from The Lakin Law Firm. The contract advises Kelly

 that her attorney should review it before signing it and it could be canceled within

 three (3) days. Under the totality of the circumstances, the Court finds that the

 arbitration provision is not procedurally unconscionable.

              Next, Kelly contends that it is substantially unconscionable as she is

 destitute and cannot afford to litigate or arbitrate in New York. The Court does not

 agree.

              Under Illinois law, unconscionability may be either procedural,

 substantive, or both. Razor, 854 N.E.2d at 622; Williams v. Jo-Carroll Energy,

 Inc., 890 N.E.2d 566, 569 (Ill.App.2d Dist.2008)( citing Kinkel, 857 N.E.2d



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 250). Substantive unconscionability refers to contract terms that are so one-sided

 as to oppress or unfairly surprise an innocent party, an overall imbalance in the

 obligations and rights imposed by the bargain, and significant cost-price disparity.

 Kinkel, 857 N.E.2d at 267; Razor, 854 N.E.2d at 622.

              As to costs, in a letter from Whitehaven’s counsel to Kelly’s counsel,

 Whitehaven agreed to waive its right to an in-person hearing, to allow the depositions

 of parties and witnesses by phone, and to allow the arbitrator to decide the matter

 on the documents or via a phone hearing. The AAA rules permit telephone

 arbitrations and provide for fee waivers for financially needy claimants. Additionally,

 AAA also provides pro bono arbitrations for individuals who “might otherwise be

 financially unable to pursue his or her rights in the arbitral forum.” Accordingly,

 the Court cannot conclude that arbitration of this action is prohibitively expensive.

 Therefore, the Court will not invalidate the mandatory arbitration clause based

 Kelly’s assertion that it is substantially unconscionable.

              The Court finds that the arbitration clause is valid and mandates

 arbitration in another district. The Court must enforce the terms of the clause as

 written and agreed to by the parties. Livingston v. Assoc. Fin., Inc., 339 F.3d

 553, 559 (7th Cir. 2003) Pursuant to Section 4 of the FAA, this Court is not the

 correct forum to decide Kelly’s claims. The Southern District of New York is the

 proper venue to rule on the validity of contract. Furthermore, Whitehaven has

 already filed its petition to compel arbitration in New York. That said, the interests



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 of judicial economy warrant the transfer of this case to the Southern District of New

 York.

                                   III. Conclusion

              Accordingly, the Court CONFIRMS its December 7, 2009 Order

 transferring this case to the Southern District of New York (Doc. 19) and LIFTS the

 December 8, 2009 Stay Order (Doc. 20). Pursuant to 28 U.S.C. § 1406(a), the Court

 TRANSFERS this matter to the Southern District of New York.

              IT IS SO ORDERED.

              Signed this 26th day of February, 2010.



                                              /s/ DavidRHer|do|
                                              Chief Judge
                                              United States District Court




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